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Case 2:99-Cr-20234-BBD Document 60 Filed 05/05/05 Page 1 of 2 Page|D 42

 

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IN THE UNITED STATES DISTRICT COURT %
FoR THE WESTERN DISTRICT oF TENNESSEE 05 Hm-' -5 gm 5: 5
WESTERN DIVIS!ON

UNITED STATES OF AMERICA, *

Plain¢;iff, *
v. * Cr. No. 99-20234-D
EDDIE LEE GALLOWAY, *

Defendant. *

 

ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE HEARING ON
SUPERVISED RELEASE VIOLATION

 

For good cause shown, the Court hereby GRANTS the Defendant’s motion to continue the
supervised release violation hearing The hearing is hereby RESET for the /Z)"‘__ of

§ 22 §__pf 2005.
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UNITED sTATE DSTIIC COURT - W"'RNT DISTRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 60 in
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Honorable Bernice Donald
US DISTRICT COURT

